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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CA LIFORNIA


LOWTHER,
                                                    Case No. 21-CV-04735-JCS
                Plaintiff,

         V.                                         ORDER SETTING INITIAL CASE
                                                    MANAGEMENT CONFERENCE
TESLA INC.,                                         AND APR DEADLINES
                Defendant.




       IT IS HEREBY ORDERED that this action is assigned to the Honorable Joseph C. Spero .
When serving the complaint or notice of removal, the plaim iff or removing defendant must serve
on ail other parties a copy of this order, the Notice of Assigtnment of Case to a United States
Magistrate Judge for Trial, and all other documents specifie d in Civil Local Rule 4-2. Plaintiffs or
removing parties must file a consent or decli iation to proceed before a magistrate judge within 14
days ofthe filing ofthe complaint or the removal. All other parties must file a consent or
declination within 14 days of appearing in the case. All paities who have made an appearance
must file a consent or declination within 7 days ofthe filing of a dispositive motion or the case
will be reassigned to a district court judge. Counsel must comply with the case schedule listed
below unless the Court otherwise orders.

        IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute
Resolution(ADR)Multi-Option Program governed by AD R Local Rule 3.            Counsel and clients

shall familiarize themselves with that rule and with the ma erial entitled "Dispute Resolution

Procedures in the Northern District of California" on the Court ADR Internet site at
littp://www.cand.uscourts.uov/adr. A limited number of piinted copies are available from the
Clerk's Office for parties in cases not subject to the court's Electronic Case Filing program (ECF).
        IT IS FURTHER ORDERED that plaintiff or remo ving defendant serve upon all parties
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